Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 1 of 17 PageID 13850
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 2 of 17 PageID 13851
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 3 of 17 PageID 13852
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 4 of 17 PageID 13853
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 5 of 17 PageID 13854
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 6 of 17 PageID 13855
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 7 of 17 PageID 13856
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 8 of 17 PageID 13857
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 9 of 17 PageID 13858
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 10 of 17 PageID
                                   13859
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 11 of 17 PageID
                                   13860
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 12 of 17 PageID
                                   13861
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 13 of 17 PageID
                                   13862
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 14 of 17 PageID
                                   13863
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 15 of 17 PageID
                                   13864
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 16 of 17 PageID
                                   13865
Case 8:03-cr-00077-CEH-UAM Document 1543-11 Filed 03/08/06 Page 17 of 17 PageID
                                   13866
